  Case 1:03-md-01570-GBD-SN            Document 9493-1         Filed 12/22/23        Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


IN RE: TERRORIST ATTACKS ON                  :
SEPTEMBER 11, 2001                           :              MDL 03-1570 (GBD)(SN)
_____________________________________

This Document Relates To:

       Ashton v. al Qaeda Islamic Army, et al., Civil No. 02-cv-6977 (GBD)(SN)
       Bauer v. al Qaeda Islamic Army, et al., Civil No. 02-cv-7236 (GBD)(SN)
       Parker, et al. v. Islamic Republic of Iran, 18-cv-11416 (GBD)(SN)


                                            ORDER

       Counsel for the Havlish Plaintiffs, having reached a private settlement agreement with the

law firm of Baumeister & Samuels, P.C., on behalf of their firm and clients; the Havlish

Plaintiffs Renewed Motion for an Order Creating a Common Benefit Fund and Authorizing

Certain Disbursements Therefrom (MDL Dkt. No 4289 and 4291)(“the Motion”), is hereby

dismissed with prejudice as against Baumeister & Samuels, P.C., and their clients.

                                                    SO ORDERED.



DATE: ___________                                   ____________________________
                                                    GEORGE B. DANIELS
                                                    UNITED STATES DISTRICT JUDGE
